                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                      Case No. 15-44962-MAR
         CHARLES N ROTH
         KATHLEEN SEGAR-ROTH
                Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Krispen S. Carroll, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 03/30/2015.

         2) The plan was confirmed on 12/12/2015.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 01/13/2017, 05/30/2017, 09/18/2018.

         5) The case was dismissed on 10/11/2018.

         6) Number of months from filing to last payment: 42.

         7) Number of months case was pending: 50.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $127,110.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor              $31,450.60
       Less amount refunded to debtor                           $856.37

NET RECEIPTS:                                                                               $30,594.23


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                           $14,878.36
    Court Costs                                                          $0.00
    Trustee Expenses & Compensation                                  $2,053.85
    Other                                                                $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                           $16,932.21

Attorney fees paid and disclosed by debtor:                    $0.00


Scheduled Creditors:
Creditor                                      Claim         Claim         Claim       Principal       Int.
Name                                Class   Scheduled      Asserted      Allowed        Paid         Paid
AMERICAN PROFIT RECOVERY        Unsecured         249.00           NA           NA            0.00        0.00
ASSET ACCEPTANCE CORP           Unsecured      1,665.74            NA           NA            0.00        0.00
AT&T MOBILITY II LLC            Unsecured            NA         292.49       292.49           0.00      50.81
CAVALRY PORTFOLIO SERVICES      Unsecured         395.44        395.44       395.44           0.00      70.96
DTE ENERGY                      Unsecured      1,273.00       1,361.64     1,361.64           0.00     276.27
FCI LENDER SERVICES INC         Secured             0.00    42,994.26     42,994.26           0.00        0.00
FCI LENDER SERVICES INC         Secured      158,000.00           0.00         0.00           0.00        0.00
INTERNAL REVENUE SERVICE        Priority             NA           0.00         0.00           0.00        0.00
INTERNAL REVENUE SERVICE        Unsecured            NA       6,204.37     6,204.37           0.00   1,259.12
INTERNAL REVENUE SERVICE        Secured             0.00         21.96        21.96          21.96        0.54
MICHIGAN BELL TELEPHONE CO      Unsecured            NA         153.88       153.88           0.00      20.49
MIDLAND CREDIT MANAGEMENT       Unsecured      1,261.37       1,261.37     1,261.37           0.00     256.05
PORTFOLIO RECOVERY ASSOCIATES   Unsecured         385.00      1,467.32     1,467.32           0.00     297.80
PORTFOLIO RECOVERY ASSOCIATES   Unsecured            NA       8,235.89     8,235.89           0.00   1,717.54
PORTFOLIO RECOVERY ASSOCIATES   Secured        8,100.00       4,000.00     4,000.00      4,000.00      152.74
PROFESSIONAL ACCOUNT MGT        Unsecured          70.00           NA           NA            0.00        0.00
STATE OF MICHIGAN CD            Unsecured            NA       1,743.69     1,743.69           0.00     334.31
STATE OF MICHIGAN CD            Unsecured            NA           0.00       500.00           0.00      89.70
STATE OF MICHIGAN CD            Priority       4,831.87       4,831.87     4,831.87      4,831.87      281.86
TARGOSZ & WALKER LEGAL GROUP    Unsecured      3,254.36            NA           NA            0.00        0.00
TSI                             Unsecured         286.00           NA           NA            0.00        0.00
WASHTENAW COUNTY PROPERTY TA    Secured       30,765.25     30,765.25     30,765.25           0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00             $0.00
       Mortgage Arrearage                                 $42,994.26              $0.00             $0.00
       Debt Secured by Vehicle                             $4,000.00          $4,000.00           $152.74
       All Other Secured                                  $30,787.21             $21.96             $0.54
 TOTAL SECURED:                                           $77,781.47          $4,021.96           $153.28

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                 $4,831.87          $4,831.87           $281.86
 TOTAL PRIORITY:                                           $4,831.87          $4,831.87           $281.86

 GENERAL UNSECURED PAYMENTS:                              $21,616.09              $0.00         $4,373.05


Disbursements:

         Expenses of Administration                            $16,932.21
         Disbursements to Creditors                            $13,662.02

TOTAL DISBURSEMENTS :                                                                       $30,594.23


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 05/21/2019                             By:/s/ Krispen S. Carroll
                                                                      Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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